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     Discrimination, Torture, and Execution
     A Human Rights Analysis of the Death
      Penalty in California and Louisiana,
      Center for Constitutional Rights and
      International Federation for Human
             Rights, June 14, 2013




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                            Discrimination, Torture, and Execution:
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Article 1: All human beings are born free and equal in
dignity and rights. They are endowed with reason and conscience and should act towards one another in a spirit of brotherhood.
Article 2: Everyone is entitled to all the rights and freedoms set forth in this Declaration, without distinction of any kind, such as
race, colour, sex, language, religion, political or other opinion, national or social origin, property, birth or other status. Furthermore,
no distinction shall be made on the basis of the political, jurisdictional or international status of the country or territory to which
a person belongs, whether it be independent, trust, non-self-governing or under any other limitation of sovereignty. Article 3: Everyone
has the right to life, liberty and security of person. Article 4: No one shall be held in slavery or servitude; slavery and the slave trade shall
be prohibited in all their forms. Article 5: No one                                                   shall be subjected to torture or to cruel,
    October 2013 / N°618a




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                Cover photo: Treatment cages for group therapy in the Adjustment Center at San Quentin’s death
                row. Source: Expert Decl. of Jeanne Woodford in Supp. of Pls.’ Opp’n to Defs.’ Mot. to Terminate,
                Photo Ex. C, Coleman v. Brown, No. 90-0520 (E.D. Ca. Mar. 14, 2013).



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     I. Executive Summary
     The use of the death penalty in California and Louisiana violates U.S.
     obligations under international human rights obligations to prevent and prohibit
     discrimination and torture, cruel, inhuman or degrading treatment.

     In May 2013, the Center for Constitutional Rights (“CCR”) and the International
     Federation for Human Rights (“FIDH”) undertook a fact-finding mission in
     California and Louisiana to evaluate the death penalty as practiced and experienced
     in these jurisdictions.

     Applying a human rights framework, the mission examined whether the death
     penalty was being applied in a discriminatory manner, and if the conditions under
     which prisoners on death row were confined accorded with the obligation to prevent
     and prohibit torture and cruel, inhuman or degrading treatment.

     The mission interviewed death-row prisoners, exonerees and their family members,
     advocates, legal counsel, and non-governmental organizations in both states. The
     mission analyzed the information gathered against the backdrop of international
     human rights law (including conventions, case-law and expert opinions), paying
     particular attention to the obligations undertaken by the United States as a State
     Party to various international treaties.

     Based on the interviews conducted and documentary review, the mission concludes
     that the use of the death penalty in California and Louisiana fails to protect a number of
     basic rights, rendering the United States in breach of certain fundamental international
     obligations. Specifically, the mission finds California and Louisiana violate the
     principle of non-discrimination in the charging, conviction and sentencing of persons
     to death; a criminal justice system in which discrimination is evident both enables
     and compounds the violation. Through their detention policies and the conditions
     for detention, both states treat prisoners condemned to death in a manner that is, at
     minimum, cruel, inhuman or degrading, and in some cases, constitutes torture.

     On discrimination: Stark racial disparities in charging, sentencing, and imposing
     death sentences persist; race continues to play a significant role in both states’
     application of the death penalty. African Americans are overrepresented on death
     row in both states. While they make up only 32 percent of the general population
     in Louisiana, they represent 65 percent of the state’s death row. In California,
     African Americans make up 6.7 percent of the general population, but 36 percent
     of those on death row. Juries in death penalty cases are overwhelmingly white in
     both states. A small number of counties within both states are responsible for the
     majority of death sentences in each state, demonstrating that discretion on the part
     of prosecutors remains a large indication who is sentenced to death.  
     On cruel, inhuman or degrading treatment and torture: The conditions of
     confinement for persons on death row in California and Louisiana, including
     extreme temperatures, lack of access to adequate medical and mental health care,


       4 / Discrimination, Torture, and Execution: A Human Rights Analysis of the Death Penalty in California and Louisiana – FIDH/CCR
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overcrowding and extended periods of isolation, do not respect and promote human
dignity. In both states, condemned prisoners can be held in solitary confinement
for prolonged or indefinite periods of time, leading to severe mental pain and
suffering. Such deplorable circumstances have been condemned by the U.N. Special
Rapporteur on Torture as constituting cruel, inhuman, and degrading treatment, or,
in certain circumstances, torture.

The use of the death penalty constitutes an inherent violation of the most fundamental
of all rights, the right to life. No legal or correctional reforms can bring legitimacy
to the necessarily inhumane and premeditated taking of a life by the state through its
imperfect system. As such, the mission unambiguously and fundamentally opposes any
use of the death penalty in the United States, including in California and Louisiana

Although CCR and FIDH advance general recommendations to alleviate the
degree to which the death penalty is carried out in a discriminatory manner and to
minimize human suffering on death row, adherence to the United States’ human
rights obligations, including the non-derogable obligation to protect the right to life,
requires complete abolition of the death penalty.

In the interim, a moratorium on executions must be imposed to protect condemned
prisoners’ right to life. Simultaneously, as states progress towards abolition, they
must take positive steps towards eliminating discriminatory charging and sentencing,
and ensuring that those already under a sentence of death are not suffering torture or
other cruel, inhuman or degrading treatment.




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     II. Introduction
              In May 2013, the International Federation for Human Rights (“FIDH”)1
     and its U.S. affiliate, the Center for Constitutional Rights (“CCR”),2 conducted a
     fact-finding mission in the United States to assess whether the use of the death
     penalty in two States, California and Louisiana, complied with international human
     rights law. CCR and FIDH met with stakeholders in both States to evaluate the
     death penalty as practiced and experienced in the jurisdictions through a framework
     grounded in human rights law and practice. The mission conducted this human
     rights assessment through interviews with death row prisoners, exonerees, their
     family members, advocates, legal counsel, a federal judge, prison staff, and non-
     governmental organizations, as well as document review. The mission focused its
     analysis on discrimination and torture, cruel inhuman and degrading treatment and
     found numerous human rights violations, including the most basic right – the right
     to life – in the use of the death penalty in these two states.

            The mission was conducted by two teams: Florence Bellivier, president of
     the World Coalition Against the Death Penalty and FIDH Representative on the
     Death Penalty, and Susan Hu, CCR Bertha Fellow, headed the California team;
     Vincent Warren, Executive Director of CCR, and Jessica Lee, CCR Bertha Fellow,
     headed the Louisiana team.

             The mission chose to examine California based on the fact that it has the
     largest number of people on death row in the country and recently (November 2012)
     considered a state referendum to replace the death penalty with life without parole.3
     The mission focused on Louisiana because of its long, documented history of harsh
     treatment of death row and other prisoners, its relatively high rate of exonerations,
     and the presence of strong local organizing for abolition in the face of this brutality.
     The mission’s findings, however, are not limited to these two states, but rather, reflect
     general trends regarding the use of the death penalty across the United States.4
              The mission interviewed 20 stakeholders in California and 21 in Louisiana.
     It visited inmates on death row in California; such visits were not possible in
     Louisiana. The mission is very grateful to the individuals who contributed their
     valuable time to the mission. A partial list of interviewees is available in Appendix
     A, as several individuals spoke only on condition of anonymity, due to fear of
     reprisals from state officials.

             The mission reached two overarching conclusions: (1) although there is use
     of a human rights framework by some advocates in both states, public officials
     in California and Louisiana do not, as a matter of course, apply an international
     human rights framework to their analysis and discussion of the death penalty;
     and (2) analyzing the application of the death penalty as applied in California and
     Louisiana through a human rights framework reveals that both states are in breach
     of internationally recognized standards.
               Although the U.S. played a pivotal role in drafting some of the key human


       6 / Discrimination, Torture, and Execution: A Human Rights Analysis of the Death Penalty in California and Louisiana – FIDH/CCR
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rights documents, including the Universal Declaration of Human Rights, and
continues to hold itself out as a global leader on human rights, the U.S.’s global
viewpoint belies the reality of “American Exceptionalism,” whereby the U.S.
chooses which internationally accepted standards or obligations it will follow and
which it will not. The U.S. ambivalence to international human rights is particularly
stark and disturbing in the context of the death penalty.

        Internationally, there is wide recognition that the death penalty implicates
not only criminal law, but also human rights law.5 Although the death penalty is
not affirmatively recognized in international conventions as a per se violation of
international human rights law, its use must strictly comply with all of the protections
otherwise afforded by human rights law, including the right to a fair trial, with full
due process protections. Moreover, the conditions under which death row inmates
are held must comply with international standards, including the Standard Minimum
Rules for the Treatment of Prisoners (“Standard Minimum Rules”).6
        Coincident with the United Nations Human Rights Committee’s review of the
United States’ obligations under the International Convention on Civil and Political
Rights (“ICCPR”),7 CCR and FIDH seek not simply to criticize and condemn the
U.S. system, but rather to highlight a path for application of international human
right law at the state level. Because the human rights protected by the ICCPR, which
the U.S. has signed and ratified, must be guaranteed not only by the State party
in general but by all divisions – federal, state and local, executive, administrative
and judicial,8 we call on these governments to take immediate action to meet their
obligations under international law.




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     III. O
           verview of the
          Death Penalty in the
          United States and
          Internationally
     A. History of the use of the death penalty in the United States
             The death penalty in the United States has undergone dramatic changes in
     its four centuries of existence. The mid-20th Century brought challenges to the
     fundamental legality of capital punishment, and in 1972 the Supreme Court struck
     down the death penalty in Furman v. Georgia,9 declaring that its application was so
     arbitrary as to be unconstitutional. Although many believed that Furman spelled
     the end of capital punishment in the United States, states responded by rewriting
     their death penalty laws in an effort to limit the arbitrariness of the punishment. In
     1976 the Supreme Court considered and upheld a number of these revised statutes in
     Gregg v. Georgia,10 effectively ending a four-year reprieve from executions. Since
     Gregg, the Supreme Court has endeavored to delineate the scope of the “modern,”
     constitutional death penalty, outlawing capital punishment for certain offenses, such
     as rape,11 as well as for certain categories of persons, including the intellectually
     disabled,12 juveniles13 and, to a limited extent, those declared insane.14
             The U.S. death penalty operates in a federalist context. It is imposed and
     managed primarily at the state level, with limited federal review. However, there
     is a federal death penalty, which is imposed by the United States government and
     encompasses a variety of crimes beyond that of first degree murder, including
     terrorism and large-scale drug trafficking.15 The federal death penalty can be applied
     even in states that do not use the death penalty, and although executions for federal
     offenses remain rare, fifty-nine people are currently on the federal condemned
     inmates list.16 United States military law also authorizes the death penalty for
     several crimes.17


     B. Overview of the capital process
              Death penalty trials are bifurcated into two phases: the guilt/innocence phase
     and the penalty phase. The guilt/innocence phase operates like an ordinary criminal
     trial. If the defendant is found guilty, the trial proceeds to the penalty phase, during
     which the prosecution and the defense have the opportunity to present evidence. For
     the prosecution, this tends to relate to previous convictions, the nature of the offense,
     and, in most states, victim impact evidence. The defense, seeking to persuade the
     jury to spare the defendant’s life, presents evidence of “mitigating circumstances,”

       8 / Discrimination, Torture, and Execution: A Human Rights Analysis of the Death Penalty in California and Louisiana – FIDH/CCR
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 including information relating to the defendant’s character, mental health, and
 personal and family history. The jury weighs the evidence pursuant to the judge’s
 instructions,18 and decides whether to sentence the defendant to death.19
         Since the “constitutionalization” of the death penalty in 1976, the Supreme
 Court has required three types of appellate review for defendants sentenced under
 state death penalty law: direct appeal, state post-conviction review, and federal
 habeas corpus review. Direct appeal is an automatic appeal to the highest state
 court,20 and is limited to issues arising from the trial. At state post-conviction
 review, defendants may typically raise issues that are outside the trial record, such as
 ineffective assistance of trial counsel or new claims of factual innocence. At federal
 habeas corpus review, a civil action is brought in federal court on the grounds that
 the prisoner’s incarceration violates the United States Constitution or federal law.
 Defendants can petition for discretionary Supreme Court review at the conclusion
 of each stage of appeals. The appellate process differs for defendants sentenced
 under the federal death penalty, a discussion of which is beyond the scope of this
 report. Executive clemency may be sought in both state and federal capital cases
 once all judicial options are exhausted, although it is rarely granted.21 Clemency for
 state convictions is typically granted by the governor; however each state maintains
 its own process for review.


 C. General trends in the domestic use of the death penalty
        The death penalty is currently authorized by 32 states, the federal government,
 and the military.22 Death-eligible offenses vary between states, but are limited
 to homicide and crimes against the state.23 As of 1 April 2013, there were 3,108
 individuals on death row in the United States.24 California has the largest death row
 population, with 742 prisoners as of 1 October 2013, followed by Florida (412) and
 Texas (298). Since capital punishment was reinstated in 1976, Texas has performed
 the most executions (504) – over four times that of the next state, Virginia (110).

         Use of the death penalty has been declining dramatically in recent years.
 Six states have repealed the death penalty in the past six years: New York and New
 Jersey in 2007, followed by New Mexico in 2009, Illinois in 2011, Connecticut in
 2012, and Maryland in 2013. In practice, executions are rare in much of the nation:
 33 jurisdictions have not executed anyone in the past five years, and 26 jurisdictions
 had no executions in at least a decade.25 Nine states performed executions in 2012
 – the fewest number of executing states in 20 years.26 The number of annual death
 sentences nationwide has dropped dramatically, from 315 in 1996 to 78 in 201227 –
 the second lowest since the death penalty was reinstated in 1976 (the lowest being
 in 2011).28 A number of states where the death penalty remains an option, such as
 North Carolina, Virginia, South Carolina and Indiana, had no new death sentences
 in 2012.29 The number of executions carried out has also been in decline: there were
 43 executions a year in 2011 and 2012, compared with 85 in 2000.30 Notably, death
 sentences are being overturned at a rate that outpaces admissions to death row. This
 trend has continued since 2001, when for the first time since 1976 the number of
 death sentences overturned was higher than the number handed down.31 However,
 executions do continue in certain pockets of the country, with Texas executing 13
 men in the first nine months of this year alone.32

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    D. General international consensus against the use of the death
    penalty
            International trends show an inexorable progress towards abolition. Over
    two-thirds of the world’s nations are now abolitionist in law or practice, with an
    average of three countries per year abolishing capital punishment since 1990.33 The
    use of the death penalty has also been increasingly curtailed through international
    law. After World War II, international human rights instruments either made no
    mention of capital punishment or allowed it as a carefully worded exception to the
    right to life. International law limited the punishment, excluding certain protected
    categories of individuals from execution – including juveniles, pregnant women
    and the elderly – and confining its use to only the most serious crimes. Notably,
    the death penalty is not a permissible form of punishment at international criminal
    courts and tribunals, even for the most serious crimes including genocide, crimes
    against humanity and war crimes. As the consensus against the death penalty has
    grown, international law has become increasingly abolitionist. For example, the
    American Convention on Human Rights (“American Convention”),34 adopted in
    1969, prevents the reinstatement of the death penalty once abolished by a state
    party. Since 1980, four international human rights treaties have been adopted that
    proclaim the abolition of capital punishment.35 In 2007, the UN General Assembly
    approved Resolution 62/149, which calls for all retentionist states to establish a
    moratorium on executions with a view to abolishing the death penalty; two further
    resolutions reaffirming the call for a global moratorium were adopted in 200836
    and 2010,37 and in November 2012, the UN General Assembly’s Third Committee
    adopted a fourth resolution calling for a moratorium, which received the support
    of a record 110 countries; the U.S. was one of just forty states to vote against the
    resolution.38




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 IV. Legal Context
          The death penalty necessarily implicates the most “supreme” of human
 rights, the right to life.39 In spite of the growing international consensus that the
 death penalty is a per se violation of that right, States that continue to use the death
 penalty claim that the taking of a life is not arbitrary and is permitted under law.
 As such, rather than focusing solely on the right to life, we examined two of the
 most pervasive and oft-violated rights implicated in the use of the death penalty:
 the right to equality and non-discrimination, and the right to be free from torture
 or other cruel inhuman or degrading treatment. We analyze whether California
 and Louisiana meet the legal requirements for upholding these two rights, paying
 particular attention to those relevant international instruments which the U.S. has
 signed or ratified, and the jurisprudence of related treaty bodies or tribunals. These
 instruments include the ICCPR, the American Declaration on the Rights and Duties
 of Man (“American Declaration”),40 the American Convention,41 International
 Convention on the Elimination of All Forms of Racial Discrimination (“CERD”),42
 and the Convention Against Torture and Other Cruel, Inhuman or Degrading
 Treatment or Punishment (“CAT”).43 This section will define discrimination,
 torture, and other cruel, inhuman or degrading treatment; offer a general framework
 of international law; and briefly discuss significant departures from international
 law by the United States.
         The rights to non-discrimination and to be free from torture and cruel,
 inhuman or degrading treatment place obligations and prohibitions not just
 against the federal government. In signing international agreements, the U.S. has
 committed to “ensure that all public authorities and public institutions, national and
 local, shall act in conformity with [the treaty] obligation.”44 To that end, the U.S. is
 obligated to review governmental policies and “amend, rescind or nullify any laws
 and regulations” 45 which create or perpetuate racial discrimination, or allow torture
 or cruel, inhuman or degrading treatment of prisoners on death row.
        CCR and FIDH hope that the mission’s analysis and findings can be of use
 by advocates and policymakers at the state, national and international level who are
 working towards full abolition in the United States.


 A. Discrimination

    1. Discrimination under International Law

         The principle of equality and non-discrimination is a foundational norm
 of international law,46 and an “essential element” of due process.47 The CERD
 defines discrimination as “distinction, exclusion, restriction or preference based on
 race, colour, descent, or national or ethnic origin which has the purpose or effect of
 nullifying or impairing the recognition, enjoyment or exercise, on an equal footing,

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    of human rights and fundamental freedoms . . . .”48 Non-discrimination provisions
    are also included in all other core human rights treaties to which the U.S. is a party,
    notably the ICCPR, which binds states to respect and ensure rights of the Covenant
    “without distinction of any kind,”49 and the American Declaration, which affirms
    the “right to equality before the law.”50 The bodies responsible for interpreting the
    ICCPR and the American Declaration—the Human Rights Committee (“HRC”) and
    Inter-American Court (“IACtHR”) and Commission on Human Rights (“IACHR”)
    respectively—have further interpreted the text of the treaties by adopting definitions
    of discrimination that are in accordance with the CERD definition and interpretation,
    including the prohibition against direct and indirect discrimination.51
            Treaty bodies have emphasized that any unjustifiable disparate impact
    resulting from state conduct is contrary to human rights and violates a jus cogens
    norm.52 The CERD Committee has recognized the difficulty of establishing indirect
    discrimination in the context of the administration and functioning of the criminal
    justice system. In its General Recommendation 31, it provided guidance on how
    “better gauge the existence and extent of racial discrimination in the administration
    and functioning of the criminal justice system,” instructing States to “pay the
    greatest attention to the following possible indicators of racial discrimination: […]

                          (e) The number and percentage of persons belonging to those groups
                          who are held in prison or preventive detention, including internment
                          centres, penal establishments, psychiatric establishments or holding
                          areas in airports;

                          (f) The handing down by the courts of harsher or inappropriate
                          sentences against persons belonging to those groups; […]53
             The IACHR has addressed indirect discrimination as well.54 In addressing
    a legal regime which adversely impacted migrants, the IACHR recalled that, “[i]
    nternational human rights law prohibits not only deliberately discriminatory policies
    and practices, but also policies and practices with a discriminatory impact on certain
    categories of persons, even though a discriminatory intention cannot be proved.”55
    Notably, the IACHR found the U.S.’s refusal to grant a new sentencing hearing to a
    defendant sentenced to death under a procedure later found to be unconstitutional,
    when others were granted a new hearing, was an unjustified and discriminatory
    denial of his human rights.56
            Relevant to this report, non-discrimination principles are important in
    examining the fairness of a trial and the validity of a particular conviction, and
    apply to criminal trials, convictions and sentences.57 Where discrimination on any
    basis has played a role in trying, convicting or sentencing defendants, an execution
    by the state is an arbitrary deprivation of life, and an affront to the most central
    principles and purposes of human rights.58 For example, the IACHR has found that
    “the kinds of deficiencies that have been identified . . . as rendering an execution
    arbitrary and contrary to Article I of the American Declaration include . . . the
    failure to provide strict due process guarantees, and the existence of demonstrably
    diverse practices that result in the inconsistent application of the penalty for the
    same crimes.”59 As such, in addition to the general provisions governing equality,
    international instruments address the right to be free from discrimination in the
    context of the judicial process at length.60

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        The HRC further observed that, “[e]xpressions of racist attitudes by a jury
that are tolerated by the tribunal, or a racially biased jury selection are . . . instances
which adversely affect the fairness of the procedure.”61 Thus, the HRC has found
discrimination where jurors have made statements that include racial epithets or
stereotypes and the court took no remedial action.62 Similarly, the IACHR found
discrimination on the part of the U.S. where a juror presented the bailiff with a
drawing of a hangman accompanied by a statement “hang the [racial epithet]” and
the judge took insufficient remedial action.63 In another case, prejudicial statements
referring to a defendant’s status as a foreign national, offered by a prosecutor in
front of a jury and permitted by the judge, were also found to violate the defendant’s
rights under the American Declaration to a fair trial and equal protection without
discrimination.64 Violations of the treaties’ prohibitions on discrimination and
requirements for a fair trial may also be found in wider contexts. In the past decade,
regional courts have found substantiated statistics can play a role in establishing
discriminatory effects.65

    2. Discrimination in U.S. Context

         The U.S. utilizes a different definition of discrimination in the context
of criminal prosecutions, which brings it into conflict with its international
obligations. International instruments recognize any distinction, exclusion,
restriction or preference that has discriminatory effects, irrespective of intent,
as discrimination.66 In contrast, U.S. criminal courts only recognize claims of
intentional discrimination.

         McCleskey v. Kemp67 exemplifies the significance of the U.S. reliance on a
narrow, intent-only discrimination standard in the context of criminal prosecutions.
In McCleskey, the U.S. Supreme Court rejected the discrimination claims of a
man sentenced to death, despite a study using statistical evidence showing that use
of the death penalty in the state of Georgia was linked to the race of the victim.
Even after controlling for other factors, the study found that African Americans
who killed Caucasians were over 4 times as likely to be given a death sentence.
The court found that such disparities are “an inevitable part of our criminal justice
system.”68 In other words, the Supreme Court acknowledged the discriminatory
effect of the operation of the death penalty in the U.S. Despite this recognition, the
Court held that any alleged victim of racial discrimination in the justice system,
“must prove that the decision makers in his case acted with discriminatory purpose
. . .”69 According to the former Special Rapporteur on Extrajudicial, Summary or
Arbitrary Executions, the McCleskey ruling has “has had the effect of allowing
the courts to tolerate racial bias because of the great difficulties defendants face in
proving individual acts of discrimination in their cases.”70
        The CERD Committee’s 2008 concluding observations on the U.S. note
that the “definition of racial discrimination used in the federal and state legislation
and in court practice is not always in line” with the Convention.71 The Committee
also noted that the disproportionately high ratio of minorities incarcerated “may
be regarded as factual indicators of racial discrimination.”72 The Committee
recommended that the U.S. review the definition it uses “to ensure . . . that it prohibits
racial discrimination in all its forms, including practices and legislation that may

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    not be discriminatory in purpose, but in effect.”73 In relation to the death penalty,
    the Committee has expressed its concern regarding racial disparities in both of its
    Concluding Observations,74 and recommended that the U.S. “adopt all necessary
    measures, including a moratorium, to ensure that the death penalty is not imposed
    as a result of racial bias on the part of prosecutors, judges, juries and lawyers.”75
    Indeed, the HRC put forward questions related to racial disparities in the use of the
    death penalty, among other issues of concern related to the death penalty, for the
    U.S. to address when it comes before the Committee in October 2013.76


    B. Torture and Cruel, Inhuman or Degrading Treatment

         1. T
             orture and Cruel, Inhuman or Degrading Treatment under International
            Law

           Failure to provide treatment that respects the inherent dignity of those
    condemned to death violates international standards prohibiting torture or other
    forms of cruel, inhuman or degrading treatment or punishment (“CIDT”). The
    prohibition of torture and CIDT is a peremptory norm.77 It is set forth, without
    reservation or exception, in the foundational human rights instrument, the Universal
    Declaration of Human Rights, “78 as well as the CAT,79 two provisions of the
    ICCPR,80 and various regional human rights instruments.81
            Article 1, paragraph 1, of the Convention Against Torture provides a
    definition of torture that reflects the components of torture under customary
    international law:

               [T]he term “torture” means any act by which severe pain or suffering, whether
               physical or mental, is intentionally inflicted on a person for such purposes as
               obtaining from him or a third person information or a confession, punishing
               him for an act he or a third person has committed or is suspected of having
               committed, or intimidating or coercing him or a third person, or for any
               reason based on discrimination of any kind, when such pain or suffering is
               inflicted by or at the instigation of or with the consent or acquiescence of a
               public official or other person acting in an official capacity.82
             Of particular relevance in the death penalty context is that torture is not limited
    to physical acts; severe mental pain or suffering can constitute torture. The former
    Special Rapporteur on Torture and Other Cruel, Inhuman or Degrading Treatment
    or Punishment, Manfred Nowak, found that “[p]sychological ill-treatment is by no
    means less severe than physical abuse.” 83 An analysis of the treatment (physical
    or mental) is based on the specific circumstances including the “nature, purpose
    and consistency of the acts committed” and personal circumstances relating to the
    vulnerability of the victim.84 Moreover, although a variety of acts have contributed
    to a finding of torture, it is not necessary to assess each act individually to find that,
    in isolation, it constitutes an act of torture; acts can be considered in combination.85
    The Inter-American Convention to Prevent and Punish Torture provides that “[t]
    orture shall also be understood to be the use of methods upon a person intended
    to obliterate the personality of the victim or to diminish his physical or mental

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capacities . . . .”86 The International Criminal Tribunal for the former Yugoslavia
(“ICTY”) similarly confirms the profound effects of various forms of torture on the
individual and has found torture to be “a violation of personal dignity and is used
for such purposes as intimidation, degradation, humiliation and discrimination,
punishment, control or destruction of a person.”87
        Under CAT, torture does not include the infliction of pain or suffering that
is “arising only from, inherent in or incidental to lawful sanctions.”88 However,
the death penalty is not exempt from consideration as torture merely by virtue
of its imposition through a legal framework, as lawful sanctions “do not include
sanctions that defeat the object and purpose of the Convention Against Torture to
prohibit torture.”89 According to the Special Rapporteur on Torture, “[t]he proper
understanding [of the lawful sanctions provision] is that the exclusion refers to
sanctions that are lawful under both national and international law.”90 As such,
should a sentence of death be imposed in violation of international standards, such
as standards requiring due process or non-discrimination, it would not qualify as a
“lawful sanction,” 91 and the pain or suffering arising from the imposition of death
penalty could qualify as torture. Further, the notion of lawful sanctions can evolve
and practices which might initially be considered lawful might become outlawed
and viewed as the most serious violations of human rights.92
         The U.N. General Assembly has noted that CIDT, “should be interpreted
so as to extend the widest possible protection against abuses, whether physical or
mental. . . .”93 The ICTY has defined inhuman treatment as “an intentional act or
omission, that is an act which, judged objectively, is deliberate and not accidental,
which causes serious mental or physical suffering or injury or constitutes a serious
attack on human dignity.”94 The European Commission on Human Rights has
found that, at minimum, the prohibition on inhuman treatment, “covers at least
such treatment as deliberately causes severe suffering, mental or physical, which, in
the particular situation, is unjustifiable.”95 Degrading treatment has been defined as
including treatment, “such as to arouse in the victims feelings of fear, anguish and
inferiority capable of humiliating and debasing them and possibly breaking their
physical or moral resistance.”96 Inhuman treatment has often arisen in the context
of the treatment of prisoners of war, and, as in our case, those in detention.97 Failing
to provide for the essential needs of prisoners, and treating prisoners in a manner
that constitutes a serious attack on human dignity or causes serious suffering or
injury, constitutes cruel, inhuman or degrading treatment.98

   2. International Standards for Treatment in the Detention Context


        The prohibitions against torture and CIDT are particularly relevant in the
detention context. For example, provisions of the ICCPR relate specifically to
detention and apply an affirmative standard that “[a]ll persons deprived of their
liberty shall be treated with humanity and with respect for the inherent dignity of
the human person,” and mandate that “the essential aim” of a penitentiary system
shall be the “reformation and social rehabilitation” of its prisoners.99 Although
this aim is inherently discordant with the use of the death penalty, the methods of
achieving such goals must be complied with despite the sentence; signatories to
the ICCPR are not only prohibited from the use of torturous or other inhumane

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    treatment, but are also obligated to take affirmative measures to ensure that the
    dignity of prisoners is maintained.
            To define what standard of care would provide humane treatment, the UN
    General Assembly has adopted two resolutions regarding conditions of incarceration:
    the Body of Principles for the Protection of All Persons under Any Form of Detention
    or Imprisonment and the Basic Principles for the Treatment of Prisoners. Both
    articulate the fundamental principle that “[e]xcept for those limitations that are
    demonstrably necessitated by the fact of incarceration, all prisoners shall retain
    the human rights and fundamental freedoms set out in the Universal Declaration of
    Human Rights” as well as any other covenant to which the State is a party.100
            The HRC, in assessing violations by member states of these standards, relies
    on the Standard Minimum Rules to determine whether a State party has violated
    its obligations for humane treatment.101 The Standard Minimum Rules set forth
    practical and specific requirements for the physical environment, policies around
    use of force, provision of medical care, availability of cultural and educational
    opportunities, and access to the outside world that the UN recognizes as minimally
    necessary for treatment in accord with the dignity of those subject to incarceration.
    The UN Economic and Social Council has urged member states in which the death
    penalty may be carried out “to effectively apply the Standard Minimum Rules for
    the Treatment of Prisoners, in order to keep to a minimum the suffering of prisoners
    under sentence of death and to avoid any exacerbation of such suffering.”102 To
    this end, it adopted the Safeguards Guaranteeing Protection of the Rights of Those
    Facing Death Penalty in 1984.103 Article 7 of the Safeguards affirms that the
    Standard Minimum Rules apply to those awaiting a sentence of death.

            These broad mandates have been given greater specificity through the
    development of jurisprudence by the Inter-American Commission and Court of
    Human Rights.104 In 2008, the Commission approved the Principles and Best
    Practices on the Protection of Persons Deprived of Liberty in the Americas which,
    in addition to the Standard Minimum Rules, provides guidelines for ensuring
    that the physical conditions, availability of programming, access to family, and
    legal processes associated with detention respect the dignity of those subject to
    confinement.105 As the Inter-American Commission found:
              [T]he conditions of imprisonment of persons sentenced to death must
              meet the same international norms and standards that apply in general to
              persons deprived of liberty. In particular, they must have access on an equal
              footing to the healthcare services of the jail; to education, job and training
              programs; to work shops and reading materials; and to cultural, sports and
              religious activities; and to contact with the outside world and their family
              members. . . .Therefore, there is no valid justification to subject this category
              of inmates to more restrictive or harsher conditions than those of the rest of
              the inmates.106
            Although prisoners are not to be subjected to harsher conditions as a result of
    their sentence, condemned prisoners necessarily undergo psychological trauma as a
    result of the death sentence. Decisions by the Human Rights Committee make clear
    that conditions on death row can constitute a human rights violation and may be


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exacerbated by the nature of this psychological trauma.107 A largely psychological
phenomenon of severe trauma resulting from the prolonged confinement of death
row prisoners has been found to constitute CIDT, and has recently been found by
expert opinions to constitute torture. “Death row phenomenon” is a term used to
describe the collection of harms inherent in many death row contexts as a result
of the time spent awaiting execution in the challenging conditions of confinement
of death row, and the mental consequences of living under a sentence of death.108
Death row phenomenon is frequently a compounding of several harms which have
been found to constitute torture, such as a believable threat of execution,109 sensory
deprivation and/or isolation, prolonged denial of rest and sleep, prolonged denial of
medical care, being kept in uncertainty, subjection to excessive light or noise, and
simulated executions.110 Although analyzed on the specific facts and with a focus on
the vulnerability of the victim in question, regional human rights courts have found
that prolonged confinement in the difficult conditions of death row constitutes cruel
inhuman or degrading treatment.111 In fact, the Privy Council of the British House
of Lords has found that “in any case in which execution is to take place more than
five years after sentence there will be strong grounds for believing that the delay is
such as to constitute inhuman or degrading punishment or other treatment.”112
        Recently, the Special Rapporteur on Torture evaluated the use of the death
penalty and the conditions under which it is implemented. He found that regardless
of the legality of the death penalty itself and the evolving norm against its use,
“most conditions under which capital punishment is actually applied renders
the punishment tantamount to torture,” and in “less severe conditions,” CIDT.113
Citing death row phenomenon, the Special Rapporteur finds that as a result of
the anxiety suffered from a threat of death, which results in “great psychological
pressure and trauma,” a “prolonged stay on death row, along with the accompanying
conditions, constitutes a violation of the prohibition of torture itself.”114 As a result,
adherence to the prohibition on torture and other CIDT serve as “absolute limits on
the use and enforcement of the death penalty.”115

    3. T
       orture and Cruel, Inhuman or Degrading Treatment in the US
       context

        The U.S. government’s understanding of what constitutes torture and cruel,
inhuman or degrading treatment, and the means by which to address it, are not
in conformity with international law and practice. Within the United States, the
treatment of prisoners is governed by the Eighth Amendment to the U.S. Constitution,
which prohibits the infliction of “cruel and unusual punishments.”116 The Supreme
Court has held that, “[t]he Amendment must draw its meaning from the evolving
standards of decency that mark the progress of a maturing society.”117 The use of
the Eighth Amendment to secure the realization of human rights has yielded some
positive results, such as the abolition of the death penalty for minors,118 and the
intellectually disabled.119 However, conditions of confinement challenges under
this legal regime have resulted in haphazard, non-comprehensive standards for
prisons. Necessarily, as a result of the “unusual” requirement, efforts to abolish the
death penalty under this standard have thus far been limited.
        Upon ratifying CAT, the U.S. issued an “understanding” clarifying its definition
of torture with respect to mental harm, redefining “mental pain and suffering” as

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 “prolonged” mental harm which is related to the intentional infliction or threatened
 infliction of certain physical acts.120 This limited definition of torture is also used in
 the federal statute prohibiting torture.121 Although the suffering caused by conditions
 prevalent on death rows and the death row phenomenon described herein likely fits
 within this understanding, it is important to note that this definition is contrary to the
 Convention. The Committee Against Torture has urged in its Concluding Observations
 that the U.S. “should ensure that acts of psychological torture, prohibited by the
 Convention, are not limited to ‘prolonged mental harm’ . . . but constitute a wider
 category of acts . . . .”122
           Additionally, the U.S. fails to provide an adequate remedy to detained
  individuals who have suffered in detention. The limited definition of torture serves
  as a barrier to inmates seeking compensation for their injuries. The Prison Litigation
  Reform Act (“PRLA”) was instituted to limit the ability of prisoners to bring suit
  based on their conditions by establishing, inter alia, the requirement that prisoners
  exhaust all administrative remedies before filing suit, the imposition of fees, and
  even permitting judges to revoke inmate’s good time credits for filing “malicious
  or harassing claims.”123 In the context of the death penalty, the PRLA bars federal
  civil lawsuits by prisoners “for mental or emotional injury suffered while in custody
  without a prior showing of physical injury” or sexual act.124 Although case law
  has established that detained individuals may sue to get a court order to cease the
  treatment, and some courts have allowed damages for infringement of constitutional
  rights, there is no mechanism for seeking compensatory damages for mental harm
  resulting from ill treatment.125 The Committee Against Torture has expressed its
  concern with the PRLA in its 2006 Concluding Observations126 and again in its
  2010 list of issues.127




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V. California
       With 741 individuals currently on death row128 and an average of
approximately 20 new judgments of death per year, California’s death row is by far
the most populous in the country and contains nearly twice as many condemned men
and women as the nation’s second largest death row in Florida. Seven hundred and
twenty two out of the 741 prisoners on death row are men, and they are held at San
Quentin State Prison, the oldest prison in California. San Quentin is located along
the water in Marin County, about a thirty minute drive north from San Francisco.
The remaining 20 – the women of death row – are imprisoned at Central California
Women’s Facility in Madera County, about a two hour drive from San Francisco
and San Jose and a forty minute drive from Fresno.

       California adopted its current death penalty law by popular initiative in
1978, two years after the Supreme Court reaffirmed the country’s acceptance of the
death penalty in Gregg v. Georgia.129 Since then, the state’s death row population
has increased steadily. But unlike other states with large death row populations,
California has carried out relatively few executions. Thirteen individuals have been
executed since 1978, and none have been executed since a court-ordered stay was
entered in 2006. More inmates on death row have died from suicides than from
execution; more than four times as many have died from natural causes than from
execution.
         Although the lack of executions would appear to indicate that the state has
little appetite for the death penalty, recent election results suggest that its citizens
remain reluctant to give up the symbolism – and the fiction – of meting out the ultimate
punishment to the “worst of the worst.” In the fall of 2012, abolitionist organizations
around the state mounted a $7 million campaign in support of Proposition 34, a
state-wide ballot measure to abolish the death penalty in California and convert
the sentences of over 700 death row inmates to life without parole.130 The measure
failed by a slim majority. As a result, California’s death row population continues
to grow, even as the state struggles to meet minimum international standards for
conditions of confinement for the current condemned population.

         It is clear that retaining the death penalty, even without frequent executions,
comes at an unacceptable price for those on death row, their families, and even the
state of California itself. In May 2013, the mission interviewed inmates on California’s
death row, family members of death row prisoners, attorneys who represent individuals
in capital cases and post-conviction appeals, legal scholars, and advocates who
have worked for decades to abolish the death penalty in California. Interviewees
emphasized fundamental problems with how the death penalty is implemented in
the state and described shockingly poor conditions on death row. These systemic
problems, which will likely not be fixed in the foreseeable future given, inter alia,
the state’s long-term financial crisis, strongly suggest that continued administration of
capital punishment will simply never – and can never – be compatible with the United
States’ obligations under international human rights law.


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  A. Overview of the Trial and Appeals Process

           The death penalty may be imposed in California for any first degree murder
  that also involves a “special circumstance” enumerated by the California Penal
  Code.131 The state’s first-degree murder statute is broad; it includes “all murder
  which is perpetrated by means of a destructive device or explosive, knowing use
  of ammunition designed primarily to penetrate metal or armor, poison, lying in
  wait, torture, or by any other kind of willful, deliberate, and premeditated killing”;
  murder “committed in the perpetration of, or attempt to perpetrate, arson, rape,
  carjacking, robbery, burglary, mayhem, kidnapping, train wrecking,” torture,
  sodomy, lewd acts against a child, unlawful oral copulation, and unlawful sexual
  penetration; and murder “perpetrated by means of discharging a firearm from a
  motor vehicle, intentionally at another person outside of the vehicle with the intent
  to inflict death.”132
           At trial, the factfinder (usually a jury) must make three separate findings
  before a sentence of death is imposed. During the “guilt phase,” the factfinder must
  first find the defendant guilty of first-degree murder, and then find that one or more
  “special circumstances” was present in the case. During the “penalty” phase, the
  factfinder weighs the aggravating factors and the mitigating circumstances in the case
  to determine whether the defendant should be sentenced to death or life imprisonment.
  A punishment of death is imposed if the jury returns a unanimous verdict that “the
  aggravating circumstances both outweigh the mitigating circumstances and are
  also so substantial in comparison to the mitigating circumstances that a sentence of
  death is appropriate and justified.”133

          Although all criminal defendants are permitted to file an appeal, a state
  habeas petition, and a federal habeas petition, there is one crucial difference between
  defendants sentenced to death and all other criminal defendants. In addition to
  being entitled to an attorney during the trial and appeal proceedings, death row
  defendants are entitled to an attorney during all stages of post-conviction review
  if they cannot afford a lawyer. By contrast, defendants sentenced to any term of
  imprisonment other than death, including defendants sentenced to life without
  parole , are guaranteed to a court-appointed attorney only at the trial and appellate
  stage. Although they are still permitted to file state and federal habeas petitions
  raising, for example, new claims of factual innocence, in practice they are unable
  to do so without the assistance and resources of a lawyer. Thus, in practice, death
  row inmates are the only population who are able to seek relief beyond the direct
  appeal stage.

  B. Current State of Affairs

          In the fall of 2012, California voters were given an opportunity to abolish
  the death penalty by popular referendum. Proposition 34, which would have ended
  the death penalty and converted the sentences of the 741 men and women currently
  on death row to life without parole, was defeated by a vote of 52.8% to 47.2%, a
  difference of 500,000 votes.134 The narrow margin was a partial victory for many


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death penalty abolitionists, because it indicated that the state was on the cusp of
change. Prop 34 was supported by a broad coalition of organizations and death
penalty abolitionists around the state, which together spearheaded a $7 million
campaign called SAFE California to persuade citizens to vote for the measure. One
of the campaign’s central arguments was the high economic cost of maintaining the
death penalty in a state that in recent years had faced multi-billion dollar shortfalls
and major spending cuts135—an influential study by the bipartisan California
Commission on the Fair Administration of Justice had previously pegged the cost
of the California death penalty system at a staggering $137 million, and the savings
at about $125 million should the death penalty be abolished in favor of life without
parole.136
        Prop 34 had broad support among abolitionists and the death penalty defense
bar, but it also raised complex questions for some about the fairness of replacing
the death penalty with life without parole.137 For many death row prisoners, the
passage of Prop 34 and the conversion of their sentences to life without parole
meant that they would no longer be entitled to a court-appointed attorney beyond
the appeals stage, and they stood to lose an important opportunity to investigate
and raise new facts that could prove their innocence.138 For others, like Christine
Thomas, wife of condemned prisoner Correll Thomas, life imprisonment was no
better than a sentence of death, because “either way, you die in prison.139 And for
some prisoners who had been on death row for years or decades, the prospect of
being moved out of death row into another, potentially worse facility, was nearly
unbearable.140
        Although Prop 34 did not ultimately pass and             “Back here [on death row],
the death penalty remains on the books in California,            as long as there’s hope [that
the next execution will likely not happen anytime in the         you might one day be free],
near future. Executions have been on hold since 2006,            there’s life. Life without
when a federal district court ordered the state to stop          parole takes that away
executing people because the three-drug protocol used            from you. With LWOP [life
by the state created an “undue and unnecessary risk that         without parole], you have no
an inmate will suffer pain so extreme that it offends the        hope.”
Eighth Amendment[‘s prohibition on cruel and unusual
punishment].”141 Among other things, the court found             – Kevin Cooper, prisoner on
that there were “substantial questions” as to whether six        death row
of eleven men who had previously been executed by the
state had been conscious at the time of execution and had
suffered an unconstitutional level of pain; and that there were “critical deficiencies”
in the way the state had been implementing its execution protocol, including a lack
of adequate training and supervision of the execution team.142
         In response, the state built a new execution chamber and revised its lethal
injection protocol, but continued the use of the three-drug method, prompting a new
legal challenge. In May 2013, a California appeals court upheld a ruling that the
state’s revised protocol failed to comply with the state’s administrative procedure
law, and that the state had failed to consider the single-drug protocol recommended
by its own experts.143 The state is now exploring a single-drug option. Executions
could begin again once a new lethal injection protocol is approved and passes
judicial review, which will likely take more than a year to complete.144


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                                 The death row population at San Quentin continues to grow in the
                          meantime. Approximately 20 new judgments of death are handed down each year,
                                                                             adding new inmates to a facility
                                                                             badly in need of repair and with
                                                                             inadequate resources to care for
                                                                             an aging and increasingly diverse
                                                                             population.145      For example,
                                                                             according to the California
                                                                             Appellate Project, which provides
                                                                             legal assistance and training to
                                                                             private attorneys representing
                                                                             condemned inmates on appeal,
                                                                             61 foreign nationals are currently
                                                                             on death row, and many are not
                                                                             provided with trained, certified
                                                                             interpreters      when     medical
                                                                             issues arise. 146  The prison also
                                                                             lacks resources and services to
                                                                             provide adequate facilities for a
US San Quentin: A                               147
police officer looks over transgender prisoner,     and for the 16 men who are now over 70 years old.148
a fence at the entrance
to San Quentin Prision               Overcrowding is also a pressing concern. In 2011, the U.S. Supreme Court
during a protest             ruled that overcrowding in California’s prisons created conditions that violated
against the execution
of death row inmate
                             the Eighth Amendment’s prohibition on cruel and unusual punishment, and that
Stanley « Tookie »           a reduction in the prison population was necessary to solve systemic problems,
Williams, on December        including the lack of adequate medical and mental health care.149 California was
12 2005. Protesters          directed to reduce its prison population to 137.5% its design capacity.150 San
claimed he had been
wrongfully accused of        Quentin, which houses general population prisoners as well as prisoners on death
the crime for which he       row, contains roughly 4,200 men and currently operates at 137% capacity.151
had spent half his life in
detention, © HECTOR                  Jeanne Woodford, former Warden at San Quentin, stated in May of 2013 that
MATA / AFP
                             there was “insufficient capacity [at San Quentin] to appropriately house the growing
                             condemned population” and that “in approximately four months, the condemned
                             population will exceed the cell space set aside for it.”152 A planned project to build
                             a new $356 million prison to house condemned inmates was cancelled by Governor
                             Jerry Brown in April 2011, and no long-term plans are currently in place to address
                             the space shortage.153 If California continues to sentence individuals to death row
                             at the current rate, overcrowding will become an increasingly significant problem
                             in the coming years, exacerbating the already-poor conditions at the prison and
                             placing even more serious burdens on prisoners’ freedom of movement.

                             C. Discrimination and Arbitrariness in the Legal System
                                      Perhaps one of the most significant problems with how sentences of death
                             are handed down in California lies with the breadth of its death penalty statute. With
                             22 enumerated “special circumstances,” California’s sentencing statute is thought
                             to be the broadest in the country.154 The state is one of the few in the country that
                             permits the imposition of the death penalty even though the defendant had no intent
                             to kill; under § 190.2(a)(17) of the California Penal Code, the death penalty may


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be sought for any murder that occurs while a
defendant is engaged in committing one of twelve      “The notion that society is capable
listed felonies, regardless of the defendant’s        of selecting the worst of the worst
mental state.155 An individual may therefore be       to have their lives extinguished is
charged with death for accidental, “unintended        fundamentally flawed. . . . The system
homicides resulting from reckless behavior, or        is absolutely incapable of [deciding]
ordinary negligence, or pure accident,” as long       which offender is deserving of the
as the homicide occurred during the course of         ultimate penalty.”
a felony.156 The state is also one of the few in
the country that permits the death penalty to be      – Joseph Schlesinger, Capital Habeas
sought for any murder committed by a defendant        Unit, Office of the Federal Defender for
while “lying in wait,” a definition so broad that     the Eastern District of California
it encompasses the vast majority of premeditated
murders.157 As a result of the breadth of special
circumstances categories, 87 to 90 percent of California’s first degree murders are
death eligible under California’s sentencing statute.158 A more recent study of over
27,000 homicides found that the death eligibility rate of first degree murders was 95
percent using the law in place in 2008.159
         The district attorney’s office in the county in which the crime occurs makes
the initial charging decisions, including whether to charge a “special circumstance”
in a first-degree murder case, making it death eligible. Two studies found that out
of the total pool of death eligible defendants, only 9.6 percent are sentenced to
death in California; the number drops to 5 percent when only the most common
“felony-murder” special circumstance cases – burglary-murder and robbery-murder
– are considered.160 These statistics show that in deciding which defendants to
select for death, prosecutors have what one attorney called “virtually unfettered
discretion.”161 Such discretion allows political factors to play a larger role in the
decision-making process and increases the risk of racial discrimination in both
charging and sentencing decisions.162 In the words of one Federal Attorney who
represents prisoners on death row, “Who gets the death sentence is at best arbitrary
and at worst discriminatory.”163
         Indeed, numerous studies have confirmed that illegitimate factors such as
race play a part in whether a defendant is charged and sentenced with the death
penalty, and that the death penalty is applied in an arbitrary manner. Defendants in
Hispanic and African-American victim cases, for example, have been shown to be
less likely to face death-eligible charges than defendants in cases where the victim
was Caucasian164 Additionally, a study of statewide homicides committed between
1990 and 1999 concluded that defendants found guilty of killing whites were 3.7
times more likely to be sentenced to death than those found guilty of killing African
Americans, and 4.7 times more likely to be sentenced to death than those found guilty
of killing Hispanics.165 Even after controlling for other factors, race and ethnicity
of the victims remained a “significant predictor” of the imposition of the death
sentence.166 Charging and sentencing rates also vary wildly with geography. In one
study that examined death-charging in a single county in California, researchers
found that the same District Attorney’s office sought death 2.5 times more often
for murders occurring in one area of the county – where whites were three times
more likely to be homicide victims – than in another – where African-Americans
were four and a half times more likely to be homicide victims.167 Another study has

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 shown that since 2000, 10 counties in California (out of a total of 58) with vastly
 different homicide rates have been responsible for 83% of all death sentences in the
 state,168 while in the decade preceding, nearly half of California counties returned no
 death sentences for homicides.169 Additionally, death sentencing rates in California
 have been found to be highest in counties that are more sparsely populated and
 overwhelmingly white.170
          This pattern of discriminatory charging and sentencing may be a contributing
  factor as to why African-Americans are significantly overrepresented on death row.
  While they make up only 6.7% of the overall population in California, African-
  Americans represent 36% of prisoners on death row. While whites make up 73.7%
  of the overall population, they represent only 35% of prisoners on death row. 171

  D. Delays in the Adjudication of Post-Conviction Claims for Relief

          Indigent death row prisoners in California – virtually everyone on death
  row – are denied prompt disposition of their claims because of inordinate delays in
  appointment of counsel and the slowness of California’s courts in deciding appeals
  and habeas petitions. While death row prisoners nationwide wait an average of
  approximately ten years for their post-conviction claims to be adjudicated, the
  thirteen inmates in California who were executed waited an average of 17.5 years
  before their execution.172 New death row inmates sent to San Quentin will spend at
  least 20 years on death row awaiting execution.173 Over 240 individuals currently
  on death row have been there for over 15 years; over 100 have been there for over
  20 years; and eight have been on death row for over 30 years.174 CCR and FIDH
  met with three inmates at San Quentin during its mission to California. All have
  been on death row for at least a decade or more.

          The delay is due in part to a shortage of attorneys in the state qualified
  and willing to take on capital cases. Attorneys for death penalty cases are not
  compensated adequately by the state and, according to a report published by
  the California Commission on the Fair Administration of Justice, inadequate
  compensation is a “significant factor” in the decline of available attorneys handling
  death penalty appeals.175 Death row prisoners now wait an average of 3-5 years
  before counsel is appointed to handle their direct appeal, and an additional 8-10
  years following the conclusion of their appeal for an attorney to be assigned to
  their state habeas petition.176 Approximately 85 defendants on death row are still
  awaiting counsel to handle their direct appeal, and approximately 335 defendants
  are awaiting counsel to handle their state habeas appeal.177 In total, 57% of the
  death row population is without representation for post-conviction proceedings.
  The courts also add years to the delay. The Commission on the Fair Administration
  of Justice found that the California Supreme Court takes an average of 2.25 years
  to decide a death penalty appeal and approximately 2 years to decide a state habeas
  petition; resolution of federal habeas petitions by the federal district and appeals
  courts takes an additional 8 years.178 By all accounts, the delay has worsened
  significantly since the Commission issued its report in 2008, as it now takes the
  California Supreme Court 3.7 years to resolve a habeas petition.179



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           These delays create significant practical
problems for defense attorneys who are assigned            “The legal system creates a lot
to investigate habeas cases long after a crime has         of pain and makes people want
occurred, a situation which one attorney at the            to end their life quickly. People
California Appellate Project called a “human rights        don’t have attorneys. They tend
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crisis.” One Federal Defender described how the            to turn in.”
decades-long delay made it much more difficult to
challenge a conviction in a federal habeas case: “It       – Jarvis Masters, prisoner on
is not uncommon for witnesses to have died, records        death row
to have been destroyed, and evidence to have been
lost.”181 This is particularly problematic in a state
where cases are routinely reversed – at a rate of 80 percent – only at the federal
level.182 The majority of prisoners whose sentences are later vacated will have spent
over 15 years on death row.

        Delays also exact a very real human cost. Sixty condemned inmates have
died from natural causes while waiting for the conclusion of their post-conviction
claims, three times the number of those who have been executed by the state.183
In one case, a death row prisoner died of cancer while waiting for the California
Supreme Court to decide his state habeas petition – a wait that had had gone on for
13 years.184

E. Conditions of Confinement

         San Quentin’s death row is known for its poor living conditions. From 1980
to 2009, the prison was under judicial oversight to improve the housing and living
conditions of condemned prisoners.185 Although enough improvements were made
to satisfy the court and the oversight was terminated in 2009,186 some have argued
that the termination was premature,187 and many
problems still persist.                                   “It was not until we visited the tiers
         Prisoners on San Quentin’s death row are       that we realized how horrible, how
housed in one of three facilities: North Segregation    inhumane [death row] was. They
(“North Seg”), East Block, and the Adjustment           treat prisoners like animals.”
Center, which also houses a few inmates from the        – Joseph Baxter, appellate attorney
general population. North Seg contains about 68
prisoners, all of whom are classified in the less
restrictive “Grade A” class. East Block contains
approximately 500 inmates, 450 of whom are classified as Grade A. The rest are
classified as “Grade B” and are treated in a manner similar to inmates sentenced
to a security housing unit, and subject to a host of restrictive measures.188 The
Adjustment Center houses about 100 prisoners, the vast majority of whom are death
row inmates with a Grade B classification. All prisoners are housed in single cells,
regardless of their classification.
        There are significant differences in general living conditions between the
three housing units. While North Block is relatively quiet, East Block, according
to death row prisoner Jarvis Masters, is “very noisy . . . [there is] constant yelling


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     and screaming down the halls [and noises from] radios and TVs; it’s enough to
     drive you nuts.”189 With over 250 cells along each wall stacked five stories high
     and separated only by tiered walkways, noise from the walkways and from each of
     the cells can be heard by all. While the minority of inmates who reside in North
     Seg may leave their cells and access a small communal indoor space for a portion
     of each day, those in East Block and the Adjustment Center – or about 90 percent
     of the death row population – have no communal space besides the recreation
     yard. The Adjustment Center is the solitary confinement unit within death row
     and provides the most restrictive housing conditions; prisoners in the Adjustment
     Center are locked in their cells for all but nine hours a week.




Walkalone yard in East Block at San Quentin’s death row. Source: Expert Decl. of Jeanne Woodford in Supp. of Pls.’ Opp’n to
Defs.’ Mot. to Terminate, Photo Ex. A, Coleman v. Brown, No. 90-0520 (E.D. Ca. Mar. 14, 2013).


              1. Lack of recreation time and adequate outdoor space


                 Although San Quentin’s operating procedures for death row, known as the
         Condemned Manual, states that prisoners in East Block and the Adjustment Center
         are allowed access to outdoor yard space four hours per day, three days a week,
         the regulations do not reflect reality. Yard time is often shortened to two hours per
         day because of various delays, and it is frequently not offered to some inmates for
         weeks at a time.190 In one case documented by Woodford, recreation time appeared
         not to have been offered to one inmate for four months.191


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        In addition, the amount of recreational space at San Quentin is inadequate
for the current death row population. In East Block, up to 80 prisoners are released
at a time to share a single yard that is roughly 60 feet by 80 feet, about the size of
a basketball court. Little to no exercise equipment is available, and the space is
so uncomfortable and crowded that prisoners frequently decline recreation time.192
Most of the yard space in the Adjustment Center is made up of walk-alone space,
which consists of outdoor cells known as “dog kennels” and meant for a single
prisoner. The view is obstructed by a high wall on all four sides.193 Prisoners
housed in the Adjustment Center are also strip searched in a holding cell before and
after going out to the yard, a policy which discourages many from going outside.194
Aside from time spent in the yard, there is no opportunity for inmates to socialize
in a communal space.195

   2. Restrictions on contact and communication with family members

         Approximately 150 of the over 700 prisoners at San Quentin are currently
classified as Grade B and are subject to highly restrictive conditions. The most
significant of these limitations apply to their communication with the outside world.
Grade B prisoners are not able to make or receive phone calls, including phone
calls to their attorneys; they are therefore forced to communicate with their lawyers
by mail or during the few times a year their attorney can find the time to visit.196
Inmates may sometimes be allowed to use the phone in exceptional circumstances
such as family emergencies, but such instances are rare and the provision of a phone
call is left to the complete discretion of prison staff. Although Grade A prisoners are
allowed a minimum of two 15-minute time slots a week for collect phone calls,197
the lines are monitored by prison staff and phone calls cost $2.50 per minute – a
prohibitively expensive rate for the indigent death row prisoners and their loved
ones.198
       In addition, visitation for Grade B prisoners is limited to one hour per visit,
and contact visits are strictly prohibited, which means that prisoners are separated
from their visitors at all times by a plexi-glass booth and must speak through a
telephone.199 Grade B prisoners may only receive packages once per year.200
       These restrictions, combined with the fact that Grade B designations may
be given for indeterminate periods of time, mean that some prisoners have not had
phone calls or felt the touch of a family member for a decade or longer.


               “Before they kill you physically, they want to kill you
              emotionally.” – Kevin Cooper, prisoner on death row
              Although physical abuse by prison staff has decreased over the
              decades that San Quentin was under judicial supervision, a number of
              interviewees noted that prisoners at San Quentin are still often subject
              to harassment by correctional officers, and that certain intentional


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            behavior by prison staff cause prisoners psychological and emotional
            harm.201 According to some interviewed by the mission, prisoners
            are “dehumanized and antagonized,”202 and treated by guards “like
            chained animals.”203 Correll Thomas, for example, described being
            subject to small injustices, such as having personal possessions
            overturned, broken, and destroyed during cell searches, on a regular
            basis, calling it “systematic torture.”204 Another prisoner, Jarvis
            Masters, recalled how a guard would taunt him by reading Masters’
            judgment of death out loud.205 Kevin Cooper noted that he rarely ever
            saw correctional officers disciplined for mistreating and inmate and
            commented that “in this prison, the guards are always right, and you
            are always wrong.”206 These small humiliations, according to Cooper,
            are “all part of the process to break you.”207



      3. Solitary confinement


           Prolonged solitary confinement is routinely imposed at San Quentin. When
  inmates first arrive on death row they are placed in “administrative segregation” –
  solitary confinement for all practical purposes – in what San Quentin officials call
  the “Adjustment Center” and what death row inmates call “the Hole.” This initial
  placement into solitary confinement may range from a few weeks to six months, and
  applies to all prisoners, regardless of any special status or medical needs. Solitary
  confinement in the Adjustment Center is also imposed on prisoners if they are
  sentenced to Grade B status. Woodford has described the Adjustment Center as “very
  restrictive,” where inmates are “not allowed much freedom at all.”208 Contact with
  other inmates is minimal. Communal meals are not allowed, and virtually the only
  time inmates are able to interact is during yard time. The Condemned Manual states
  that prisoners in the Adjustment Center are allowed up to 12 hours a week for outdoor
  exercise209 – practically the only time in which they are allowed out of their cell – but
  in reality, yard time is frequently not offered.210 Because the cells have solid doors,
  inmates are unable to see one another when they are in their own cells, and their only
  means of communication is by yelling back and forth through their cell doors.
           Current guidelines allow prisoners to be classified as Grade B and placed
  in solitary confinement for determinate periods of up to 48 months,211 but they may
  also be assigned Grade B status and sent to the Adjustment Center indefinitely. The
  loose standards specified in the operating procedures are frequently applied with wide
  amounts of discretion, via a classification process that death penalty advocates have
  criticized as arbitrary and lacking in due process.212 For example, correctional officers
  may place a prisoner in the Adjustment Center for a “serious rule violation,” but offenses
  range widely from conduct that may be charged as a violent crime to relatively minor
  infractions such as possessing more than $5 without authorization, possessing – or
  “constructive[ly] posse[ssing]” – a cell phone; or participating in a strike.213
          Death row prisoners may also be given indeterminate Grade B status based
  on their “gang affiliation,” a term that is not defined anywhere in the regulations.214


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Prisoners may also be given an indeterminate Grade B term for incurring one
serious rule violation and two administrative rule violations within a six-month
period.215 Indeterminate Grade B status may additionally be assigned to any inmate
who prison staff determine is being “disruptive
to the normal operating procedures of the
                                                       Hunger Strike to Protest Conditions
institution.”216 There is no limitation to how long
                                                       in the Adjustment Center
an individual with indeterminate Grade B status On 8 July 2013, the same day that 30,000
may remain in solitary confinement with all the prisoners held in prisons across California
accompanying restrictions on communication.            began a hunger strike to protest the state’s
                                                       practice of sending inmates into solitary
         For individuals found to be affiliated
                                                       confinement for decades with effectively no
with a gang, the prospect of release is especially
                                                       way out,224 nearly 100 prisoners held in the
bleak. Release from the Grade B “program” can
                                                       Adjustment Center initiated a peaceful hunger
only come through debriefing, which requires
                                                       strike to protest the solitary confinement
confessing to a gang-related crime and naming
                                                       policies in place on death row. Among
other members in the gang; or a finding by
                                                       other things, the prisoners in the Adjustment
prison staff that the inmate is no longer an active
                                                       Center sought changes that would lift some
gang member.217 Neither option is satisfactory.
                                                       of the most onerous restrictions placed on
Inactive reviews are conducted only once every
                                                       Grade B inmates, such as the ban on non-
six years,218 and the periodic 90-day reviews
                                                       contact visits, and sought to end some of the
provided for in the procedures219 have little
                                                       unfair practices currently in use for sending
impact on a prisoner deemed to be affiliated with
                                                       prisoners to solitary confinement.225 The
a gang.220 On the other hand, debriefing comes
                                                       prison administration’s response to the strike
with serious risks: it is legally unwise for many
                                                       and to the prisoners’ demands was mixed,
inmates who do not wish to reveal information
                                                       and at times, hostile. Two weeks after the
that might damage their pending appeal;
                                                       strike began, correctional officers issued rules
potentially dangerous for those who believe
                                                       violation reports to all striking inmates, and
that they will be retaliated against if they reveal
                                                       the hunger strikers were punished by being
any names; and impossible for some who were
                                                       confined to their quarters for 10 days, which
incorrectly validated as a gang member and who
                                                       severely limited their ability to communicate
have no actual information to provide.221
                                                       with one another.226
         It is not surprising, then, that some death
                                                       The hunger strike ended on 14 August 2013;
row prisoners have been in the Adjustment Center
                                                       it lasted a total of 38 days. More than a dozen
for decades.222 The mission met with one inmate,
                                                       prisoners lost consciousness or experienced
Jarvis Masters, who spent 22 years in isolation
                                                       medical difficulties as the strike unfolded.227 By
in the Adjustment Center. Masters described
                                                       the end, administration officials acknowledged
the Adjustment Center as a place “where [prison
                                                       that there was a lack of meaningful process
guards] can torture you, taser you . . . [and] take
                                                       for those assigned to indeterminate Grade
retaliatory violence [against you]” with little
                                                       B status and understood that change was
repercussion. During the first six months he was
                                                       necessary, but made no promises except to
in the Adjustment Center, Masters was placed
                                                       end the humiliating practice of strip searching
in an even more restrictive environment, which
                                                       Adjustment Center prisoners outside in a
he described as the “hole within the Hole,”
                                                       holding cell before allowing them access
and allowed few items beyond a blanket and a
                                                       to the recreation yard.228 The prisoners are
mattress. During the first year, his recreation time
                                                       still waiting for the administration to make
was limited to being in the “walkalone yard,”
                                                       concrete changes to the operating procedures
where he was not allowed to interact with any
                                                       . Revised operating procedures are expected
other prisoners. Because of the prohibition on
                                                       to come out sometime in spring 2014.229
contact visits and phone calls, Masters was “cut

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          off from all human contact except [during] yard from 1985 to 2007” – the entire
          period during which he was in solitary.223




Treatment cages for group therapy in the Adjustment Center at San Quentin’s death row. Source: Expert Decl. of
Jeanne Woodford in Supp. of Pls.’ Opp’n to Defs.’ Mot. to Terminate, Photo Ex. C, Coleman v. Brown, No. 90-0520 (E.D.
Ca. Mar. 14, 2013).

                   4. Medical and mental health care
                      Not surprisingly, a significant portion of prisoners on death row struggle
              with mental health problems. One prisoner commented that “the majority of people
              here don’t need prison, they need a mental hospital.”230 Another interviewee, a
              Federal Defender representing death row inmates, explained that many prisoners
              arrive on death row with existing mental health issues, and that death row only
              exacerbates those problems because of the “lack of socialization” and the “stress of
              not knowing when they’ll be executed.”231 Those who arrive without any problems
              develop them over time as they struggle to live under a death sentence with an
              unknown execution date, and slowly deteriorate.232
                     Despite the significant mental health needs of condemned prisoners,
              mental health treatment on San Quentin’s death row is often inadequate. For
              example, group therapy is always conducted with prisoners seated inside cramped,
              individual “treatment cages” that are lined up in a “dirty and crowded” room.233
              And current policies discourage prisoners from medical and psychiatric visits. The




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Condemned Manual requires that inmates be strip searched before and after each
medical visit.234 Woodford has similarly noted that prisoners in the Adjustment
Center are strip searched after returning from mental health appointments.235
When prisoners do go for medical visits, their ankles are handcuffed to a bed,
requiring them to sit or lie in the same position – often for hours – while waiting
to be seen.236 Additionally, San Quentin’s death row lacks resources and staff
to treat the roughly 10-20 inmates who are severely mentally ill.237 Unlike the
general prison population, condemned prisoners are not eligible for transfer to
a state hospital facility for specialized mental health care. Although the prison
recently reported that a specialized program had been set up at San Quentin to
treat those with acute mental illness, it has provided few details about the program.
No policies and procedures have been made public, staffing for the program is
uncertain, and the level of care is unknown.238
        Two prisoners interviewed by the mission expressed feelings of mistrust
between prisoners and medical staff, stating that a large part of mental health
treatment at San Quentin consists of placing inmates on medication.239 The
lack of trust is due in part to knowing that mental health staff may not keep
conversations confidential: one prisoner noted that doctors will sometimes reveal
sensitive information told by prisoners, such as past sexual abuse, and that such
information will eventually find its way to correctional officers.240 Guards or
escorts are present at all times during medical visits,241 and one prisoner, Correll
Thomas, explained that their presence deters prisoners from speaking openly to
medical staff (and at times from even going to a medical visit) because prisoners
know from past experience that guards will tell other officers about an inmate’s
medical issues, and the information will later be used to taunt and humiliate the
inmate.242 Thomas also noted that prisoners do not trust that correctional officers
will respond in their best interest during a medical emergency. He described a
recent incident where an inmate died in his prison cell and guards refused to go
into the cell for hours because the inmate was not handcuffed.243 He recalled
another incident where, for the same reason, guards refused to enter a prison
cell to help an un-handcuffed prisoner even though the prisoner had just been
stabbed.244
        Psychiatric care is given to a prisoner set to be executed, but according to
Kevin Cooper, a death row prisoner who came within hours of execution before
receiving a stay, the purpose of those additional psychiatric visits was to monitor
his actions and ensure that he did not commit suicide before the execution date.245
Cooper noted that in the days before he was set to be executed, guards would also
come by his cell every hour to see if he was all right and to make sure “that you don’t
cheat them of their death.”246 Cooper stated that even though he was traumatized
in the weeks following the event, he received no counseling or therapy; he was
only asked whether he wanted any medication. In general, counseling or therapy
is offered to inmates only following a prisoner suicide; no therapy is offered when
another prisoner is executed.247




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                       F. Death row phenomenon

                                                               The post-conviction appeals process is an
          “Everything here is about death. essential safeguard against mistakes, especially
          That’s what makes [death row] when a defendant’s life is at stake, and is a necessity
          different from other prisons. . . . in light of the high reversal rate for death penalty
          [T]he thought of being executed, cases in California. But, as the European Court of
          you don’t ever get used to that.” Human Rights cautioned, “the consequence is that
                                                        the condemned prisoner has to endure for many years
                                                        the conditions on death row and the anguish and
          – Kevin Cooper, prisoner on mounting tension of living in the ever-present shadow
          death row                                     of death.”248 The California Supreme Court also
                                                        recognized this in 1972 when it ruled the death penalty
                     unconstitutional, noting that “the cruelty of capital punishment lies not only in the
                     execution itself . . . but also in the dehumanizing effects of the lengthy imprisonment
                     prior to execution during which the judicial and administrative procedures essential
                     to due process of law are carried out.”249 That statement is even more true today,
                     when the average length of time spent on death row is now an estimated 20 years, 12
                     more than the number of years that prompted the European Court of Human Rights
                     and the California Supreme Court to make their observations.250 The torment of a
                     death sentence, which the California Supreme Court recognized as “psychological
                     torture,”251 and the punitive conditions of confinement are magnified for death row
                     prisoners at San Quentin, who are forced to live under such conditions for decades
                     while they wait for attorneys to be assigned and post-conviction remedies to be
                     exhausted.”
San Quentin Death
Chamber, http://
en.wikipedia.org/
                               One attorney noted that the length of time prisoners stay on death row
wiki/File:SQ_Lethal_   constitutes “a special kind of torture.”252 Jarvis Masters commented that it was the
Injection_Room.jpg     “people who have been on death row for a very long time” whom he saw develop mental
                                                                                     health problems and
                                                                                     “act out in harmful
                                                                                     ways” because they
                                                                                     could no longer stand
                                                                                     the wait. Cooper, who
                                                                                     has been on death row
                                                                                     since 1985, described
                                                                                     watching         other
                                                                                     inmates “turn into
                                                                                     vegetables, give up,
                                                                                     commit suicide, and
                                                                                     become dependent on
                                                                                     medication” over the
                                                                                     course of their time
                                                                                     on death row because
                                                                                     of the long-term
                                                                                     psychological effect
                                                                                     of a death sentence.253
                                                                                     And one Federal
                                                                                     Defender representing

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death row inmates noted that the stress of not knowing when they will be executed
exacts an immeasurable toll on his clients’ mental health, commenting, “I don’t think
I’ve had a client who isn’t a potential volunteer, or who at one point was a volunteer.
. . . [They say to me], I just want to be executed; I just want to get this over with.
[Being on death row] is not an existence for them.” 254
        Since 1978, 23 prisoners on California’s death row have committed suicide
(with the latest occurring four days before this report’s publication), nearly twice
the number executed by the state. The stress and anxiety of living under a sentence
of death for a prolonged period of time is undoubtedly a factor, but conditions
within San Quentin may also be contributing to feelings of loneliness, hopelessness,
and isolation that impact a prisoner’s will to live. The extended use of solitary
confinement, which Woodford has argued is “unnecessary and avoidable,”255 is
well known for causing irreversible psychological damage.256 The use of indefinite
solitary confinement – the sentencing of prisoners to indeterminate Grade B status in
the Adjustment Center – in particular exacerbates the pain and suffering of solitary
because of the uncertainty of the length of punishment.257 The “dehumanizing”
treatment by correctional officers at San Quentin, which was emphasized by all
three prisoners interviewed by the mission, also takes a serious toll. The constant
degradation, noted the wife of one death row prisoner, is particularly hard on the
prisoners who are mentally ill, who “can’t bear up against [such] bullying.”258


              “I went through a ritual of death that was so unreal . . .”
              – Kevin Cooper, prisoner on death row
              On 10 February 2004, Kevin Cooper was set to be executed by the
              State of California. Before the U.S. Supreme Court issued a decision
              affirming a last-minute stay less than four hours before the appointed
              time of execution, prison officials at San Quentin prepared Cooper for
              his death. Cooper recalled the month-long execution “ritual” and the
              psychological toll it continues to have on him:

              “The first thing they did was move my property to another cage so
              [that] they could watch me constantly. The cage was filthy and looked
              like it had never been cleaned [and] I spent days scrubbing it. Prison
              staff came by every hour to see if [I] was all right and to make sure
              [I] didn’t cheat them of their death. They sent psychiatrists, nurses,
              and administrative staff [to see me] all over a two week period. They
              wanted to know my clothing size . . . they took me out in the middle
              of the night to take photos of me. They [then] took me to the hospital
              to have the execution squad size me up. The doctors [talked] about
              my execution and where my veins were right in front of me, without
              acknowledging [my] being there. This went on for weeks. . . . “

              “As [the] execution got closer and closer, everything became more
              intense. I was moved to [a cell] above the execution chamber, and
              someone [took] notes on what I was doing every hour. [I was put in]
              a waist chain with my hands handcuffed to my sides during visits, and
              guards surround[ed] and watched[] me 24/7, even during visits. All
              the guards watching me were white. . . . The day before [my execution,
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